     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 1 of 28 Page ID #:1



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14    AdoreMe, Inc. d/b/a Adore Me
15
                               UNITED STATES DISTRICT COURT
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                              CENTRAL DISTRICT OF CALIFORNIA
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                                      WESTERN DIVISION
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      AdoreMe, Inc. d/b/a Adore Me,            Case No. 2:19-CV-8830
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21                       Plaintiff,
                                               COMPLAINT
22             v.
23    Daniel Giovanni Watson,                  Demand for Jury Trial
24                       Defendant.
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                                                                             COMPLAINT
      4161-6504-6815.1
     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 2 of 28 Page ID #:2



 1             Plaintiff AdoreMe, Inc. d/b/a Adore Me (“Adore Me” or “Plaintiff”) hereby
 2    brings this action against Daniel Giovanni Watson (“Defendant” or “Watson”) and
 3    alleges as follows:
 4                                          INTRODUCTION
 5             1.        Adore Me brings this action to stop Defendant from continuing his
 6    phishing scam in which he preys on unsuspecting women by (a) posing as a talent
 7    scout for Adore Me; (b) impersonating Lindsey Hayes Kroeger (“Ms. Kroeger”)—a
 8    well-respected talent scout—and/or pretending to be affiliated with her; and
 9    (c) using, unlawfully and without authorization, Adore Me’s name, trademark, and
10    reputation to obtain nude and intimate photographs from women. To conduct his
11    fraudulent scheme, Defendant has established email and social media accounts and
12    profiles on Google, Instagram, Snapchat, YouTube, and Twitter using Ms. Kroeger’s
13    name.
14             2.        Defendant knowingly uses this phishing scheme on unsuspecting
15    women and potential customers of Adore Me, trading on the substantial brand value
16    and reputation of Adore Me to lure women into a false sense of security and a belief
17    that they will become lingerie models for Adore Me. Adore Me has never sought,
18    nude photographs of women; neither has Ms. Kroeger. Adore Me now seeks to
19    redress the harm to its reputation and the myriad victims of Defendant. Any proceeds
20    recovered through this action will be donated to the BadassArmy, a nonprofit
21    organization dedicated to providing support to victims of revenge porn/image abuse,
22    and eradicating the practice through education, advocacy, and legislation.
23             3.        Adore Me brings claims under the Lanham Act, 15 U.S.C. §§ 1114,
24    1125, California Business and Professions Code §§ 14200, 17200, 17500, and the
25    California common law of trademarks.
26                                           JURISDICTION
27             4.        Subject matter jurisdiction is proper in this Court pursuant to 28 U.S.C.
28    § 1331, 1338, and 1367 and under 15 U.S.C. § 1121 because this action arises under
                                                                                         COMPLAINT
      4161-6504-6815.1
                                                    -1-
     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 3 of 28 Page ID #:3



 1    the Lanham Act, 15 U.S.C. §§ 1114, 1125, and the Court has supplemental over the
 2    state law claims because they arise out of the same unlawful conduct by Defendant.
 3    In addition, subject matter jurisdiction is proper under 28 U.S.C. § 1332 because the
 4    parties are citizens of different states and the amount in controversy exceeds $75,000.
 5             5.        Defendant is subject to personal jurisdiction here because he resides in
 6    this judicial district.
 7                                                VENUE
 8             6.        Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391
 9    because a substantial part of the events or omissions giving rise the claims herein
10    occurred in this judicial district and because a substantial part of the harm caused by
11    Defendant has occurred in this judicial district.
12                                            THE PARTIES
13             7.        Adore Me is a corporation incorporated in the state of Delaware, and its
14    principle place of business is in the state of New York.
15             8.        On information and belief, Defendant is an individual who resides in
16    Los Angeles County in the state of California.
17             9.        On information and belief, Defendant owns, rents, leases, or otherwise
18    has      dominions        over    the   email    accounts    lkcastings@gmail.com      and
19    lisakcastings@protonmail.com, the Instagram account @giovanniw, and the
20    Snapchat account @giovanniw, the YouTube account GioVanni W, and he
21    previously owned, rented, leased, or otherwise had dominion over the Twitter
22    account @GioVanniWatson_.
23                                     FACTUAL BACKGROUND
24    Adore Me Is a Highly Respected Company That Has Spent Years Building its Brand
25             10.       Started in 2011, Adore Me designs, manufactures, and distributes high-
26    quality apparel for women, including lingerie. Adore Me empowers women to
27    embrace their uniqueness. Adore Me understands that every woman has a unique
28    style and body type, and Adore Me celebrates that by designing lingerie styles with
                                                                                        COMPLAINT
      4161-6504-6815.1
                                                      -2-
     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 4 of 28 Page ID #:4



 1    a perfect fit for every body.
 2             11.        Adore Me’s lingerie is designed by women, for women, to inspire
 3    confidence in each woman’s body. Adore Me uses premium fabrics and lace with a
 4    luxurious look and feel. Adore Me’s products are made to fit to flatter a customer’s
 5    shape and support her beautifully.
 6             12.        Since 2011, Adore Me has used trademarks to indicate the origin of its
 7    goods. These trademarks include the following terms and designs, for which Adore
 8    Me submitted applications for registration with the United States Patent and
 9    Trademark Office (“USPTO”), and are collectively referred to as the “Marks”:
10                   a.                         , Reg. No. 4,182,189, registered with the USPTO
11                        in connection with “bras, panties, and leggings,” among other goods,
12                        with a date of first use of at least as early as 2011. A true and correct
13                        copy of the registration certificate for this mark is attached hereto as
14                        Exhibit A.
15                   b. ADORE ME, Serial No. 87116678, applied for at the USPTO on July
16                        26, 2016 in connection with “lingerie,” “bras, panties,” among other
17                        goods. The USPTO issued a Notice of Allowance on June 25, 2019. A
18                        true and correct copy of the Application and Notice of Allowance from
19                        the Trademark Status and Document Retrieval of the USPTO are
20                        attached hereto as Exhibit B.
21             13.        Adore Me is the sole owner of the Marks.
22             14.        In continuous and exclusive use for eight years, as well as being the
23    subject of the expenditure of more than $100 million in promotion and advertising,
24    the Marks are recognized as indicators of source for Adore Me’s high-quality and
25    empowering lingerie, and they are the embodiments of the substantial and valuable
26    goodwill associated with Adore Me’s products. Adore Me has continuously owned
27    and operated since 2011 the Internet domain name <www.adoreme.com>. Adore Me
28    has also owned and operated accounts on Facebook (@adoreme) since 2012,
                                                                                          COMPLAINT
      4161-6504-6815.1
                                                     -3-
     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 5 of 28 Page ID #:5



 1    Instagram (@adoreme) since 2013, Pinterest (AdoreMeOfficial) since 2012,
 2    YouTube (Adore Me) since 2015, and Twitter (@AdoreMe) since 2011. Adore Me
 3    has more than 2.8 million followers on Facebook, 450,000 followers on Instagram,
 4    100,000 followers on Pinterest, 20,000 subscribers on YouTube, and 18,000
 5    followers on Twitter.
 6             15.       Adore Me takes pride in providing a snark-free, body-positive zone to
 7    consumers. Adore Me selects models of all body shapes to invite women to come-
 8    as-they-are to select products from a wide range of styles and create a look they want.
 9    Working exclusively through professional modeling agencies, Adore Me’s model
10    selection process is highly professional; Adore Me does not work with any model
11    who is not part of a professional modeling agency. Adore Me does not work with
12    talent scouts and does not accept unsolicited photos—nude or otherwise—from
13    scouts or prospective models. Most important, Adore Me never casts nude models
14    and never requests nude pictures of prospective models in a model’s portfolio.
15    Every part of Defendant’s pattern of behavior is abhorrent and contrary to Adore
16    Me’s practices.
17                       Ms. Kroeger Is Not Affiliated with Adore Me or Defendant
18             16.       On information and belief, Ms. Kroeger is an individual—and a real
19    person—who resides in Los Angeles County in the state of California.                 On
20    information and belief, Ms. Kroeger has been known by several variations of her
21    name, including Lisa Hayes Kroeger, Lindsey Hayes Kroeger, Lindsey Hayes, and
22    Lindsey Kroeger.1 On information and belief, Ms. Kroeger is a former casting
23    director, best known for her work on Gossip Girl (2007-2012), The Final Destination
24    (2009), Fear Itself (2008-2009), 90210 (2008), and The Strangers (2008). Ms.
25    Kroeger has not ever worked with Adore Me. On information and belief, Ms.
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       See, e.g., Black Reel Award for Outstanding Ensemble,
      https://en.wikipedia.org/wiki/Black_Reel_Award_for_Outstanding_Ensemble (last
27    visited October 14, 2019); Casting Directors List,
      https://castingdirectorslist.com/whoswho/lindsey-kroeger-casting/ (last visited
28    October 14, 2019).
                                                                                     COMPLAINT
      4161-6504-6815.1
                                                   -4-
     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 6 of 28 Page ID #:6



 1    Kroeger does not know and has not ever worked with Defendant.
 2                       Defendant’s Predatory Photo Scam and Modus Operandum
 3             17.       Phishing is the attempt to obtain sensitive information, such as biometric
 4    information and other personal identifying information for malicious reasons by
 5    disguising as a trustworthy entity or person in an electronic communication.
 6             18.       Defendant has launched a sophisticated scam to obtain the most sensitive
 7    information a person has—photographs of her most intimate body parts—by using
 8    Adore Me’s Marks without authorization and falsely holding himself out as affiliated
 9    with Adore Me, a brand women trust.
10    Step One: Create a Sense of Security by Using Adore Me’s Name
11             19.       On information and belief, Defendant uses, among other things, Google,
12    Instagram, Snapchat, YouTube, and Twitter accounts he controls to find
13    unsuspecting women to target. On information and belief, Defendant sends victims
14    messages, using accounts he creates and controls and which are purportedly from
15    Ms. Kroeger, with myriad variations of her name: Lindsey Hayes Kroeger, Lindsey
16    Lisa Hayes Kroger, and Lisa Kroger. On information and belief, Defendant also
17    meets at least some of them in person, including at Station 1640, a nightclub in
18    Hollywood.
19             20.       Los Angeles is an ideal place to continue to perpetrate his scheme as
20    many consider it the place to be discovered for entertainment work.
21             21.       Defendant approaches his potential victims over social media and in
22    person, poses as a talent scout, and says things such as “You ever heard of
23    AdoreMe[?] . . . My close friend is looking for Busty women to try out a new bra
24    and give THEIR opinion on it high paying / asked me if I knew any women” [sic].
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                                                                                          COMPLAINT
      4161-6504-6815.1
                                                     -5-
     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 7 of 28 Page ID #:7



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               22.       Defendant pressures his targets to send an email to, or respond to an
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      email from, his fake “close friend” at lisakcastings@protonmail.com and/or
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      lkcastings@gmail.com, telling them to “include name age bra size any and all photos
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      that show face, breast etc” [sic]. Defendant further lures women into a false sense of
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      security by saying “She also said all photos are seen only by her so u can send any
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      with no discretion[.]” On information and belief, unbeknownst to his targets,
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      Defendant’s “friend” is actually a front for himself—Defendant controls the email
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      accounts lisakcastings@protonmail.com and lkcastings@gmail.com.
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      4161-6504-6815.1
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     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 8 of 28 Page ID #:8



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15             23.       On information and belief, Defendant shows his target victims a fake
16    email and/or direct message on a social media platform, purportedly from his “close
17    friend” to him, which email asks him to help her find candidates for an advertising
18    campaign for Adore Me, paying $3,000-$8,300. Defendant describes his “friend” as
19    a “close casting associate I’ve worked w many times who casted me in a few
20    projects.”
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      4161-6504-6815.1
                                                  -7-
     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 9 of 28 Page ID #:9



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      4161-6504-6815.1
                                           -8-
     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 10 of 28 Page ID #:10



 1              24.       On information and belief, Defendant tells a would-be victim, “you fit
 2     the breakdown.” But if the target suggests checking with a manager or agent,
 3     Defendant drops any interest, saying “nvm” (shorthand for “never mind”), the fake
 4     Ms. Kroeger “wants to leave managers and agents out.”
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       4161-6504-6815.1
                                                    -9-
     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 11 of 28 Page ID #:11



 1     Step Two: Set the Trap through Impersonation
 2              25.       On information and belief, Defendant is known in the entertainment
 3     industry as a skilled impersonator.          See, e.g., Bianca Bee, “Giovanni Watson
 4     Impersonates Terrence Howard & Promotes New Film Restored Me” (Feb. 23,
 5     2015),             http://www.itsbiancabee.com/giovanni-watson-impersonates-terrence-
 6     howard-talks-restored-me/ (last visited October 14, 2019); Giovanni Watson
 7     Impersonates Terrence Howard & Promotes New Film “Restored Me,” YouTube
 8     (Feb. 23, 2015), https://www.youtube.com/watch?v=LKrCMmJxfBY , at *4:40
 9     (“You’re so great at impersonations”).
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                26.       On information and belief, as part of his scheme, Defendant uses these
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       4161-6504-6815.1
                                                    - 10 -
     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 12 of 28 Page ID #:12



 1     skills to impersonate Ms. Kroeger and lure his victims into a false sense of security.
 2              27.        On information and belief, Defendant sends unsuspecting women
 3     emails from an account that purports to be from Ms. Kroeger, but which account
 4     Defendant actually controls, stating that “she” has “interns scouting social media
 5     looking for busty, curvy, ideally plus size women to be a part of two major
 6     campaigns.” On information and belief, as part of his scheme, Defendant uses,
 7     without authorization and with bad faith intent, the name “LKCASTINGS,” the
 8     domain             name   <www.lisakcastings.com>,   and    the    email    addresses
 9     lkcastings@gmail.com and lisakcastings@protonmail.com, which are confusingly
10     similar to Ms. Kroeger’s name, to impersonate her.
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       4161-6504-6815.1
                                                 - 11 -
     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 13 of 28 Page ID #:13



 1              28.       On information and belief, after a target victim responds to his initial
 2     email impersonating Ms. Kroeger, Defendant sends a follow up email, still
 3     impersonating her, prominently featuring the Adore Me name, mark, and domain
 4     name, asking for “snap shots of you braless from waist up and head to toe from front
 5     back and each side head to toe,” and offering more than $3000 if the women are
 6     “casted.”
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       Step Three: Reassure Victims that the Scheme Is a Real Casting Opportunity
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                29.       On information and belief, if Defendant’s would-be victims express
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       reservations about the fake Ms. Kroeger emails, Defendant pressures the victims to
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       participate by providing a screenshot of a website with Ms. Kroeger’s actual work
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                                                                                         COMPLAINT
       4161-6504-6815.1
                                                    - 12 -
     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 14 of 28 Page ID #:14



 1     history, and saying things like “Nothing sketchy about her she casted me for Gossip
 2     girl a while back[.]” On information and belief, Defendant’s impersonations are
 3     credible because he uses real details about Ms. Kroeger’s work history, such as her
 4     work casting for Gossip Girl and a summary of her profile and work history from
 5     Casting Directors List, https://castingdirectorslist.com/whoswho/lindsey-kroeger-
 6     casting/, and women believe that Defendant is Ms. Kroeger.
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                30.       On information and belief, the real Ms. Kroeger was a successful casting
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       director for several years on Gossip Girl, so Defendant’s statement that Ms. Kroeger
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       cast him on Gossip Girl makes Defendant’s impersonation of her even more
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       believable. On information and belief, the real Ms. Kroeger did not cast Defendant
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                                                                                         COMPLAINT
       4161-6504-6815.1
                                                    - 13 -
     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 15 of 28 Page ID #:15



 1     on Gossip Girl and has never worked with Defendant. Ms. Kroeger has never worked
 2     with Adore Me.
 3              31.       On information and belief, if a target victim expresses trepidation, or
 4     does not respond right away, Defendant sends a follow up email, purportedly from
 5     Ms. Kroeger, “checking in.”            Defendant then “reassures” his victims that the
 6     impersonation account is trustworthy, convincing the victim to feel safe sending her
 7     most intimate photos to the account.
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       4161-6504-6815.1
                                                    - 14 -
     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 16 of 28 Page ID #:16



 1              32.       Similarly, on information and belief, Defendant sends Instagram and/or
 2     other social media direct messages, from his own account, to his victims, telling them
 3     he thinks they’re “gunna get it” [sic], which he claims to know because “She emailed
 4     me saying she was leaning your way.” When a victim asks whether Ms. Kroeger or
 5     her company have an Instagram account, Defendant states that “She’s an older white
 6     woman,” suggesting that she would be unlikely to have an Instagram account.
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       4161-6504-6815.1
                                                    - 15 -
     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 17 of 28 Page ID #:17



 1     Step Four: Trick Women into Providing Intimate Photos and Videos
 2              33.       On information and belief, as part of Defendant’s impersonation
 3     scheme, posing as Ms. Kroeger, he solicits additional intimate photos from his
 4     victims and explains in the follow-up email (still impersonating Ms. Kroeger) to
 5     would-be victims that “THE FIRST ROUND OF PHOTOS SENT FOR YOU WERE
 6     TO SEE IF YOU BOTH FIT THE CRITERIA WHICH YOU DO!” [sic].
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       4161-6504-6815.1
                                                 - 16 -
     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 18 of 28 Page ID #:18



 1              34.       On information and belief, if the target does not respond with the photos
 2     Defendant initially asked for in his email impersonating Ms. Kroeger, Defendant
 3     sends a follow up email, asking, “Did you read where I stated I need the 15-20 selfi
 4     [sic] and mirror based in the requested wardrobe? Also tank needs to be cut shorter
 5     to see natural shape, hang, girth of breast?”
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14              35.       Similarly, on information and belief, if the victim does not respond
15     quickly with photos, Defendant, using the fake Ms. Kroeger account, sends additional
16     messages, “checking in before [Defendant] clock[s] out,” or asking for an “ETA”
17     (i.e., an estimated time of arrival) for the photos.
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       4161-6504-6815.1
                                                     - 17 -
     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 19 of 28 Page ID #:19



 1              36.       On information and belief, victims who send some pictures to the fake
 2     Ms. Kroeger account receive additional emails from the fake Ms. Kroeger account,
 3     asking for a “self shot 15 minute video of you,” [sic] in which candidates must speak
 4     about themselves and then disrobe to “see natural shape, hang, girth of breast, also
 5     being in small G string cut bottoms.” Purportedly, in order for the fake Ms. Kroeger
 6     to “scan the video,” candidates must apply a “very very heavy amount of oil to chest.”
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       4161-6504-6815.1
                                                   - 18 -
     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 20 of 28 Page ID #:20



 1              37.       Moreover, on information and belief, if a victim expresses concern
 2     about sending further nude photos or videos, Defendant, posing as Ms. Kroeger,
 3     reminds the victim that “you already sent the requested photos,” and “you proceeded
 4     was you stating you agree.” On information and belief, victims feel trapped into
 5     sending additional photos and videos because of Defenant’s veiled threat. On
 6     information and belief, Defendant convinces victims to send videos by stating,
 7     “Casting directors do not speak on phone until booked, if I’m asking too much I shall
 8     proceed although I wanted to book you.”
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       4161-6504-6815.1
                                                  - 19 -
     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 21 of 28 Page ID #:21



 1              38.       On information and belief, if the photos a victim sends are not
 2     sufficiently revealing, Defendant responds (still impersonating Ms. Kroeger) with a
 3     “SIGH” that “she” does not require photos that are “nude per se, but I do need to see
 4     your natural hang, shape, and girth” because the victim is purportedly a “great
 5     candidate” for the fake Adore Me campaign.
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       4161-6504-6815.1
                                                 - 20 -
     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 22 of 28 Page ID #:22



 1     Step Five: Hope No One Learns that Watson Is Impersonating Ms. Kroeger
 2              39.       On information and belief, emails originating from Defendant’s
 3     personal snapchat and email accounts use the same language, such as “sigh,” as those
 4     purportedly originating from the fake Ms. Kroeger account.
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                40.       On information and belief, Defendant seeks to halt any “digging” into
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       the veracity of the fake Kroeger account when a would-be victim expresses
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       skepticism.
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                                                                                      COMPLAINT
       4161-6504-6815.1
                                                   - 21 -
     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 23 of 28 Page ID #:23



 1                                Defendant Must Immediately Be Stopped
 2              41.       When informed of this scam, Adore Me immediately engaged a private
 3     investigator to determine the identity of Defendant.
 4              42.       In this kind of scheme, there are unlimited email addresses and social
 5     media accounts Defendant could use, and unlimited persons Defendant could
 6     impersonate to perpetrate this scam. There are likewise any number of fraudulent
 7     ends, including revenge porn, to which Defendant could put the highly personal
 8     intimate photographs and videos he obtains through his scheme. To end this scheme,
 9     Defendant himself must be enjoined to prevent the additional compromise of highly
10     personal intimate information.
11              43.       The protection of consumers and of Adore Me’s reputation requires that
12     this scheme be permanently shut down.
13              44.       On information and belief, Defendant has offered for sale and advertised
14     his fake scouting services and continues to offer for sale and advertise his fake
15     scouting services, purporting to be affiliated with Adore Me, in via the Internet and
16     through his social media accounts in interstate commerce.
17
18                            COUNT I – Federal Trademark Infringement
19                                            15 U.S.C. § 1114
20              45.       Adore Me repeats, reiterates, and re-alleges each and every allegation
21     contained in Paragraphs 1 through 44 as if full set forth herein.
22              46.       Adore Me is the owner and registrant of the Marks. Defendant has not
23     been granted any right to use the Marks.
24              47.       Defendant has used and continues to use Adore Me’s Marks in
25     connection with offering scouting services in interstate commerce, including Adore
26     Me’s federally registered trademark. Defendant’s uses of the Marks have caused
27     and/or are likely to cause confusion or mistake, or to deceive regarding the source,
28     sponsorship, approval, and/or affiliation of the services offered by Defendant.
                                                                                         COMPLAINT
       4161-6504-6815.1
                                                    - 22 -
     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 24 of 28 Page ID #:24



 1              48.       Upon information and belief, Defendant has engaged and continues to
 2     engage in these acts with the knowledge of Adore Me’s rights and the willful intent
 3     to violate same.
 4              49.       Defendant’s unlawful actions have had, are having, and will continue to
 5     have a substantial and adverse effect on United States commerce. Defendant’s
 6     wrongful acts and/or willful infringements have caused, and will continue to cause,
 7     irreparable harm to Adore Me unless permanently enjoined, for which Adore Me has
 8     no adequate remedy at law.
 9              50.       Defendant has profited and will continue to profit from his unlawful
10     actions because the intimate photographs of his victims are highly valuable and the
11     private property of those women.
12              51.       Defendant’s actions are causing and will continue to cause Adore Me
13     monetary damage in amounts in excess of $75,000 and to be determined at trial.
14              52.       Defendant is liable for trademark infringement, in violation of Section
15     32 of the Lanham Act, 15 U.S.C. § 1114.
16                                    COUNT II – False Advertising
17                                          15 U.S.C. § 1125(a)
18              53.       Adore Me repeats, reiterates, and re-alleges each and every allegation
19     contained in Paragraphs 1 through 52 as if fully set forth herein.
20              54.       Adore Me’s marks, including its federally registered trademark, are
21     distinctive marks that are associated with Adore Me and exclusively identify Adore
22     Me’s business, products, and services.
23              55.       Defendant’s uses of the Marks have caused and/or are likely to cause
24     confusion or mistake, or to deceive regarding the source, sponsorship and/or
25     affiliation of the services offered by Defendant in commercial advertising.
26              56.       Adore Me is entitled to all relief available for Defendant’s false and
27     misleading statements about his purported affiliation with Adore Me, including but
28     not limited to recovery of Adore Me’s damages in excess of $75,000, in an amount
                                                                                        COMPLAINT
       4161-6504-6815.1
                                                    - 23 -
     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 25 of 28 Page ID #:25



 1     to be determined at trial, attorneys’ fees, costs, treble damages, and injunctive relief.
 2              57.       Defendant’s wrongful acts and/or willful infringements, for which
 3     Adore Me has no adequate remedy at law, have caused, and will continue to cause
 4     damages and irreparable harm to Adore Me unless permanently enjoined.
 5              58.       Defendant is liable for false advertising, in violation of Section 43 of the
 6     Lanham Act, 15 U.S.C. § 1125.
 7                             COUNT III – State Trademark Infringement
 8                                Cal. Bus. & Prof. Code §§ 14200 et seq.
 9              59.       Adore Me repeats, reiterates, and re-alleges each and every allegation
10     contained in Paragraphs 1 through 58 as if fully set forth herein.
11              60.       Defendant has used and continues to use Adore Me’s registered
12     trademark and its unregistered mark. By doing so, Defendant is likely to cause and
13     has already caused confusion, mistake, or deception as to the origin, sponsorship, or
14     approval of the fake and unauthorized version of the Adore Me marks.
15              61.       As a result of his wrongful conduct, Defendant is liable to Adore Me for
16     violation of California’s Model Trademark Statute.
17              62.       Adore Me seeks injunctive relief and compensatory and punitive
18     damages in an amount to be proven at trial.
19              63.       As a direct result of Defendant’s actions, Adore Me has suffered and
20     continues to suffer irreparable harm for which it has no adequate remedy at law, and
21     which will continue unless Defendant’s actions are enjoined. Defendant’s wrongful
22     and unauthorized use of Adore Me’s trademarks to promote, market, or sell his fake
23     talent scouting services constitutes trademark infringement pursuant to Cal. Bus. &
24     Prof. Code §§ 14200 et seq.
25                             COUNT IV – State Trademark Infringement
26                                        California Common Law
27              64.       Adore Me repeats, reiterates, and re-alleges each and every allegation
28     contained in Paragraphs 1 through 63 as if fully set forth herein.
                                                                                            COMPLAINT
       4161-6504-6815.1
                                                      - 24 -
     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 26 of 28 Page ID #:26



 1              65.       Defendant has used and continues to use Adore Me’s trademarks, which
 2     at all relevant times were used in commerce, including in the State of California. By
 3     doing so, Defendant is likely to cause and has already caused confusion, mistake, or
 4     deception as to the origin, sponsorship, or approval of the fake and unauthorized
 5     version scouting services.
 6              66.       As a result of his wrongful conduct, Defendant is liable to Adore Me for
 7     trademark infringement under the common law of California.
 8              67.       Adore Me seeks injunctive relief and compensatory and punitive
 9     damages in an amount to be determined at trial.
10              68.       As a direct result of Defendant’s actions, Adore Me has suffered and
11     continues to suffer irreparable harm for which it has no adequate remedy at law, and
12     which will continue unless Defendant’s actions are enjoined. Defendant’s wrongful
13     and unauthorized use of Adore Me’s trademarks to promote, market, or sell services
14     constitutes trademark infringement under California common law.
15                         COUNT V - Unlawful and Unfair Business Practices
16                                    Cal. Bus. & Prof. Code § 17200
17              69.       Adore Me repeats, reiterates, and re-alleges each and every allegation
18     contained in Paragraphs 1 through 68 as if fully set forth herein.
19              70.       Defendant’s acts constitute unlawful and unfair business practices in
20     violation of California Business and Professions Code section 17200.
21              71.       Adore Me seeks injunctive relief and restitution in an amount to be
22     determined at trial.
23              72.       As a direct result of Defendant’s actions, Adore Me has suffered and
24     continues to suffer irreparable harm for which it has no adequate remedy at law, and
25     which will continue unless Defendant’s actions are enjoined.
26                                    COUNT VI – False Advertising
27                                Cal. Bus. & Prof. Code § 17500, et seq.
28              73.       Adore Me repeats, reiterates, and re-alleges each and every allegation
                                                                                         COMPLAINT
       4161-6504-6815.1
                                                    - 25 -
     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 27 of 28 Page ID #:27



 1     contained in Paragraphs 1 through 72 as if fully set forth herein.
 2              74.         Defendant’s acts constitute unlawful conduct in violation of California
 3     Business and Professions Code section 17500 et seq.
 4              75.         Adore Me seeks injunctive relief and restitution in an amount to be
 5     proven at trial.
 6              76.         As a direct result of Defendant’s actions, Adore Me has suffered and
 7     continues to suffer irreparable harm for which it has no adequate remedy at law, and
 8     which will continue unless Defendant’s actions are enjoined.
 9
10                                           PRAYER FOR RELIEF
11     WHEREFORE, Plaintiff respectfully requests that the Court:
12              A.          Enter judgment in favor of Adore Me and against Defendant on all of
13     Plaintiff’s claims;
14              B.          Preliminarily and permanently enjoin and restrain Defendant, his
15     agents, partners, attorneys, and all others in active concert or participation with
16     them, from:
17                         i.   Soliciting, offering for sale, or advertising any service for in
18                              exchange for intimate photographs of women;
19                        ii.   Impersonating any person with the intent of obtaining intimate
20                              photographs;
21                    iii.      Using any account or profile used by Defendant to cause injury;
22                    iv.       Making any use of Adore Me’s Marks, or any designation of origin
23                              confusingly similar thereto;
24                        v.    Infringing any of the Marks; and
25                    vi.       Unfairly competing with Adore Me in the advertising or offering
26                              for sale of services related to the potential advertising of any of
27                              Adore Me’s products.
28              C.          Order Defendant, pursuant to 15 U.S.C. § 1116, to serve on Adore Me
                                                                                               COMPLAINT
       4161-6504-6815.1
                                                        - 26 -
     Case 2:19-cv-08830 Document 1 Filed 10/15/19 Page 28 of 28 Page ID #:28



 1     within thirty (30) days after service on Defendant of preliminary or permanent
 2     injunctive orders, a report in writing, under oath, setting forth in detail the manner
 3     and form in which Defendant has complied with the injunction;
 4              D.        Order Defendant to account for, and pay over to Adore Me,
 5     Defendant’s profits and all actual damages sustained by Adore Me, in excess of
 6     $75,000, but in an amount unknown at this time and to be determined at trial;
 7              E.        Increase the amount of damages and/or profits awarded to Adore Me,
 8     as provided by law;
 9              F.        Award Adore Me such enhanced, punitive, and special damages for
10     Defendant’s willful and intentional acts of unfair competition and infringement of
11     Adore Me’s rights that the Court shall deem just and proper;
12              G.        Award Adore Me the fees, costs and disbursements, and interest,
13     expended in connection with any actions taken to investigate and confirm the
14     claims made herein;
15              H.        Award Adore Me its reasonable attorney fees, costs, disbursements,
16     and interest, as provided by law; and
17              I.        Grant such other and further relief as the Court may deem just and
18     proper.
19
20                                    DEMAND FOR JURY TRIAL
21              Plaintiff demands a trial by jury.
22
       Dated:             October 15, 2019               ORRICK, HERRINGTON &
23                                                       SUTCLIFFE LLP
24
25                                                       By:        /s/ Mark Mermelstein
                                                                  MARK MERMELSTEIN
26                                                                  JACOB M. HEATH
                                                                      ANGELA COLT
27                                                                 Attorneys for Plaintiff
                                                                AdoreMe, Inc. d/b/a Adore Me
28
                                                                                        COMPLAINT
       4161-6504-6815.1
                                                     - 27 -
